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% A 0 245D     (Rev. 12/03) Judgment in a Criminal Case for Revocations




                        SOUTHERN                                     District of                                    ILLINOIS

         UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                               v.                                           (For Revocation of Probation or Supervised Release)
                   FREDDIE E. PAYNE
                                                                            Case Number:           98CR40066-001
                                                                            USM Number: 04261-025
                                                                             John R. Abell
                                                                            Defendant's Attorney
THE DEFENDANT:
@ admitted guilt to violation of condition(s) as alleged in petition                           of the term of supervision.

     was found in violation of condition(s)                                                after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                    Nature of Violation                                                               Violation Ended
 Statutory                           The defendant tested positive for a controlled substance                          9/29/2006


 Special                             The defendant failed to participate with Cognitive Skills Prog


       The defendant is sentenced as provided in pages 2 through                   4       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
     The defendant has not violated condition(s)                                        and is discharged as to such violation(s) condition.

         It is ordered that the defendant must noti the United States attorney for this district within 30 days of any
                                                          'r
change pf name, residence, or mailing address untl all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay rest~tution,the defendant must not~fythe court and United States attorney of materlal changes in
economic circumstances.

Defendant's Soc. Sec. No.:     XXX-XX-XXXX

Defendant's Date of Birth:     4/24/1979


Defendant's Residence Address:

200 N. Paradise # 47, Carterville, IL 62918
                                                                                   //
                                                                                   b'
                                                                             J. Phil Gilbert                                   District Judge
                                                                            Name of Judge                                    Title of Judge




Defendant's Mailing Address:

 Same as above
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               Sheet 2- Imprisonment

                                                                                                        Judgment- Page    2   of       4
 DEFENDANT: FREDDIE E. PAYNE
 CASE NUMBER: 98CR40066-001

                                                                 IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term o f :
No term of imprisonment.



            The court makes the following recommendations to the Bureau of Prisons:




            The defendant is remanded to the custody of the United States Marshal.

            The defendant shall surrender to the United States Marshal for this district:
                 at                                       a.m.           p.m.    on
                 as notified by the United States Marshal.

            The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                 before 2 p.m. on
                 as notified by the United States Marshal.
            I7 as notified by the Probation or Pretrial Services Office.
                                                                         RETURN
  I have executed this judgment as follows:




            Defendant delivered on                                                         to

  at                                                     with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL



                                                                                BY
                                                                                                   DEPUTY UNITED STATES MARSHAL
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A 0 245D   (Rev. 12/03) Judgment in a Criminal Case for Revocations
           Sheet 3 - Supervised Release

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DEFENDANT: FREDDIE E. PAYNE
CASE NUMBER: 98CR40066-001
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
5 years (The Court STAYS the execution of this sentence until the defendant has served his 24 month with BOP in case
NO. 03CR40078.


         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prlsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawhl use of a controlled
substance. The defendant shall suirnit to one drug test within 15 days of release from imprisonment and at least two perlodic drug tests
thereafter as determined by the court.
     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
     future substance abuse. (Check, if applicable.)
     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
@ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
     or is a student, as directed by the probation oficer. (Check, if applicable.)
     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this 'udgrnent imposes a fme or restitution, it is be a condition of supervised release that the defendant pay in accordance with
the Schedule o f l ~ a ~ m e nsheet
                               t s of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                       STANDARD CONDITIONS OF SUPERVISION
       the defendant shall not leave the judicial district without the permission of the court or probation officer;
       the defendant shall report to the probation officer and shall submit a truthful and complete written report within the frst five days of
       each month;
       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       the defendant shall support his or her dependents and meet other family responsibilities;
       the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
       acceptable reasons;
       the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, djstribute, or administer any
       controlled substance or any paraphernalia related to any controlled substances, except as prescr~bedby a physic~an;
       the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
       a felony, unless granted permission to do so by the probation officer;
       the defendant shall permit aprobation officer to visit him or her at any time at home or elsewhere and shaH permit confiscation of any
       contraband observed in plain view of the probatron officee
       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
       permission of the court; and
       as directed by the robation officer, the defendant shall notify third parties of risks that may be occasioned by fhe defendant's criminal
       record or           history or characterlrtics and shall permit the probat~onofficer to make such notlficatlons and to confirm the
       defendant s compliance with such notification requirement.
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           Sheet 3C - Supervised Release

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DEFENDANT: FREDDIE E. PAY NE
CASE NUMBER: 98CR40066-001

                                        SPECIAL CONDITIONS OF SUPERVISION
  The defendant shall spend the first 180 days in a half-way house as directed by probation.

  The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training.
or other acceptable reasons.

  The defendant shall participate with the Cognitive Skills Program.

  The defendant shall participate as directed and approved by the probation officer for the treatment of narcotic addiction,
drug dependence, or alcohol dependences, which includes urinalysis or other drug detection measures and which may
require resident andlor participation in a residential treatment facility. Any participation will require complete abstinence
from all alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling and/or
tesitng based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed
the total costs of counseling.
